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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                      AMARILLO DIVISION

  STATE OF MISSOURI, et al.,

               Intervenor Plaintiffs.

  Vv.
                                                                  2:22-CV-223-Z
  U.S. FOOD AND DRUG
  ADMINISTRATION, et al.,

               Defendants,

  and

  DANCO LABORATORIES, LLC,

               Intervenor Defendant.


                                                   ORDER

           Before the Court is Defendants’ and Intervenor Defendant’s Unopposed Joint Motion for

 Extension of Time to File Replies in Support of Federal Defendants’ and Danco’s Motions to

 Dismiss    (“Motion”)   (ECF    No.    204),   filed November   19, 2024.   Defendants   and   Intervenor

 Defendant request a “four-day extension of time to file their respective reply briefs in support of

 their motions to dismiss” to set       a new deadline of December 6, 2024. ECF No. 204 at 1. They

 request the extension because of the Thanksgiving holiday, travel, and family commitments. Jd. at

 2. This Court has “generously          granted extensions to all parties” in this case. ECF     No.   168.

 Intervenor Plaintiffs do not oppose the Motion. ECF No. 204 at 3. Accordingly, the Motion is

 GRANTED. Defendants and Intervenor Defendant are ORDERED to file their respective reply

 briefs on or before December 6, 2024.
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                                                ope
       SO ORDERED.

       November 25     r024


                                             MATTHEW J. KACSMARYK
                                             UNITED STATES DISTRICT JUDGE
